                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN
                         MILWAUKEE DIVISION

JOHN FARINA,
         Plaintiff,                            CASE NO. 20-cv-454


      v.                                       JURY TRIAL DEMANDED

METALCRAFT OF MAYVILLE, INC.,
        Defendant.


                                    COMPLAINT


                          PRELIMINARY STATEMENT

      1.      This action is brought by Plaintiff John Farina for unpaid overtime

and agreed upon wages. Plaintiff Farina was employed by Defendant Metalcraft of

Mayville, Inc., at times since March 12, 2015. Defendant Metalcraft of Mayville, Inc.

has a common policy and practice of impermissibly rounding the start and end

times of its hourly employees’ work hours so as to deny such employees for

compensation for all hours worked. As a result, Defendant Metalcraft of Mayville,

Inc. has denied Plaintiff Farina overtime pay in violation of the Fair Labor

Standards Act of 1938, as amended (“FLSA”) as well as overtime pay and agreed-

upon wages in violation of Wisconsin law.

                          JURISDICTION AND VENUE

      2.      This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331, this action being

brought under the FLSA, 29 U.S.C. §201, et seq.



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       3.        The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367, as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.

       4.        Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S.

District Court for the Eastern District of Wisconsin because a substantial part of

the events or omissions giving rise to the claim occurred within the district and

Defendant Metalcraft of Mayville, Inc. has substantial and systematic contacts in

this district.

                                          PARTIES

       5.        Defendant Metalcraft of Mayville, Inc. (“Metalcraft”) is a Wisconsin

Corporation with a principal place of business located at 1000 Metalcraft Drive,

Mayville, Wisconsin 53050.

       6.        Metalcraft has three Wisconsin locations including – 1) Mayville, 2)

West Bend, and 3) Beaver Dam.

       7.        Metalcraft’s registered agent for service of process in the State of

Wisconsin is Martin A. Gallun located at 1000 Metalcraft Drive, Mayville,

Wisconsin 53050.

       8.        Plaintiff John Farina (“Plaintiff”) is an adult resident of Dodge County

in the State of Wisconsin.




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                              GENERAL ALLEGATIONS

       9.      Plaintiff has been employed by Metalcraft as a Welder at Metalcraft’s

Mayville facility from on or around November 14, 2011, and is still employed by

Metalcraft in that capacity.

       10.     Plaintiff opted into a collective action titled Mazurek v. Metalcraft,

Case No. 2:17-cv-01439 on March 12, 2018. Plaintiff’s consent to join filed in the

Mazurek v. Metalcraft action is attached as Exhibit A of this Complaint and is

incorporated herein.

       11.     On March 20, 2020, Richard Mazurek filed his Motion to Decertify the

Collective Class in Mazurek v. Metalcraft and asked that the Court dismiss the opt-

in Plaintiffs’ claims (including Plaintiff’s) without prejudice such that they could file

their individual complaints.

       12.     Metalcraft manufactures machined metal products at its three

Wisconsin facilities.

       13.     While employed by Metalcraft, Plaintiff was paid on an hourly basis for

Plaintiff’s work.

       14.     While employed by Metalcraft, Metalcraft agreed to pay Plaintiff a

specific hourly rate for all hours Plaintiff worked for Metalcraft.

       15.     Since March 12, 2015, Metalcraft had in effect a rounding policy

applicable to Plaintiff.

       16.     Pursuant to Metalcraft’s rounding policy, Plaintiff was permitted to

punch-in up to fourteen minutes prior to Plaintiff’s scheduled start time.




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        17.   Pursuant to Metalcraft’s rounding policy, Plaintiff’s in-punches within

the fourteen-minute pre-shift period were rounded to Plaintiff’s scheduled start

time.

        18.   Plaintiff regularly punched in prior to Plaintiff’s scheduled start time

within the fourteen-minute pre-shift period subject to Metalcraft’s rounding policy.

        19.   Plaintiff regularly began working for Metalcraft after punching in.

        20.   Plaintiff regularly performed work during the fourteen-minute pre-

shift period subject to Metalcraft’s rounding policy.

        21.   After punching in and during the fourteen-minute pre-shift period

Plaintiff regularly performed compensable work, such as going to his locker to

obtain his required tools and personal protective equipment including his welding

helmet and retrieving and packing a company provided cart to transport his

equipment and any company equipment to his workstation. Additionally, during the

fourteen-minute pre-shift period, Plaintiff regularly discussed with the employee

working at that station from the previous shift how the machines were running and

if any repairs were necessary and what tasks were in the process of being completed

so work could begin right away, Plaintiff would do a check of the workstation to

ensure that all parts required for him to begin working were stocked and brought to

the workstation, and then Plaintiff would begin welding.

        22.   As a result of Metalcraft’s rounding policy, Plaintiff was not paid for

the work Plaintiff performed during the fourteen-minute pre-shift period.




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        23.   If Plaintiff punched in after Plaintiff’s scheduled start time, Metalcraft

paid Plaintiff from the minute Plaintiff punched in.

        24.   Pursuant to Metalcraft’s rounding policy, Metalcraft did not round late

in-punches in Plaintiff’s favor.

        25.   Pursuant to Metalcraft’s attendance policy, Plaintiff could be subject to

discipline, up to and including being terminated, for punching in late.

        26.   Pursuant to Metalcraft’s rounding policy, Plaintiff was permitted to

punch-out up to fifteen minutes after Plaintiff’s scheduled end time.

        27.   Pursuant to Metalcraft’s rounding policy, Plaintiff’s out-punches

within the fifteen-minute post-shift period were rounded to Plaintiff’s scheduled end

time.

        28.   If Plaintiff punched out after Plaintiff’s scheduled end time within the

fifteen-minute post-shift period subject to Metalcraft’s rounding policy, it was

because Plaintiff was performing work.

        29.   If Plaintiff punched out after Plaintiff’s scheduled end time within the

fifteen-minute post-shift period subject to Metalcraft’s rounding policy and

performed work, Plaintiff was not paid for that time by Metalcraft.

        30.   Plaintiff regularly performed work within the fourteen-minute post-

shift period, including, discussing with the employees of the next shift what work

had been completed, what work still needed to be done, and if there were any issues

encountered on the shift that they needed to be aware of. Additionally, within the

fourteen-minute post-shift period, Plaintiff would empty the garbage at his station,




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clean the area including sweeping any metal shavings, and return all materials and

tools used during the shift to their proper storage locations.

      31.    If Plaintiff punched out prior to Plaintiff’s scheduled end time,

Metalcraft paid Plaintiff to the minute Plaintiff punched out.

      32.    Pursuant to Metalcraft’s rounding policy, Metalcraft did not round

early out-punches in Plaintiff’s favor.

      33.    Metalcraft’s rounding policy only rounded in Metalcraft’s favor.

      34.    Metalcraft’s rounding policy did not round in Plaintiff’s favor.

      35.    Metalcraft did not prohibit Plaintiff from working during the fourteen-

minutes pre-shift periods that were subject to Metalcraft’s rounding policy.

      36.    Metalcraft did not prohibit Plaintiff from working during the fifteen-

minute post-shift periods that were subject to Metalcraft’s rounding policy.

      37.    During Plaintiff’s employment, Metalcraft has suffered or permitted

Plaintiff to regularly work more than forty hours during workweeks in which

Metalcraft applied its time clock rounding policy.

      38.    As a result of applying this time clock rounding policy, Metalcraft

improperly denied Plaintiff compensation at one and one-half times Plaintiff’s

respective regular rates for hours worked in excess of forty in workweeks since

March 12, 2015.

      39.    Since March 12, 2015, Metalcraft’s application of its time clock

rounding policy resulted in Plaintiff being suffered or permitted to perform work for

Metalcraft without compensation at Plaintiff’s agreed-upon hourly rates.




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       40.      Metalcraft’s impermissible time clock rounding policy consistently

operated to the disadvantage Plaintiff.

       41.      Metalcraft’s conduct, as set forth in this complaint, was willful and in

bad faith, and has caused significant damages to Plaintiff.

                         FIRST CLAIM FOR RELIEF
       Violations of the Fair Labor Standards Act of 1938 as Amended

       42.      Plaintiff reasserts and incorporates by reference all preceding

paragraphs as if restated herein.

       43.      Since March 12, 2015, while employed by Metalcraft, Plaintiff has been

entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C.

§201 et. seq.

       44.      Since March 12, 2015, Metalcraft has been and continues to be an

enterprise engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

       45.      Since March 12, 2015, while employed by Metalcraft, Plaintiff has been

an employee within the meaning of 29 U.S.C. § 203(e).

       46.      Since March 12, 2015, Metalcraft has been an employer of Plaintiff as

provided under 29 U.S.C. § 203(d) during Metalcraft’s employment of Plaintiff.

       47.      Since March 12, 2015, while Plaintiff was employed by Metalcraft,

Metalcraft has violated the FLSA by failing to pay overtime compensation due to

Plaintiff for each hour worked in excess of forty hours in any given workweek.

       48.      Plaintiff, is entitled to damages equal to mandated overtime premium

pay for all hours worked since March 12, 2015, plus periods of equitable tolling




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because Metalcraft acted willfully and knew or showed reckless disregard for

whether its conduct was prohibited by the FLSA.

      49.    Alternatively, should the Court find that Metalcraft did not act

willfully in failing to pay overtime premium wages, Plaintiff is entitled to an award

of pre-judgment interest at the applicable legal rate.

      50.    Pursuant to FLSA, 29 U.S.C. §216(b), successful plaintiffs are entitled

to reimbursement of the costs and attorneys’ fees expended in successfully

prosecuting an action for unpaid overtime wages, which Plaintiff seeks in this

matter.

                      SECOND CLAIM FOR RELIEF
  Violation of Wisconsin Law – Unpaid Agreed-Upon Wages and Overtime

      51.    Plaintiff re-alleges and incorporates by reference all preceding

paragraphs as restated herein.

      52.    Since October 20, 2015, while employed by Metalcraft, Plaintiff was an

employee within the meaning of Wis. Stat. §§ 109.01 et seq.

      53.    Since October 20, 2015, while employed by Metalcraft, Plaintiff was an

employee within the meaning of Wis. Stat. §§ 103.001 et seq.

      54.    Since October 20, 2015, while employed by Metalcraft, Plaintiff was an

employee within the meaning of Wis. Stat. §§ 104.01 et seq.

      55.    Since October 20, 2015, Plaintiff was an employee within the meaning

of Wis. Admin. Code §§ DWD 272.001 et seq.

      56.    Since October 20, 2015, Plaintiff was an employee within the meaning

of Wis. Admin. Code §§ DWD 274.01 et seq.



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      57.    Since October 20, 2015, Metalcraft was an employer within the

meaning of Wis. Stat. §§ 109.01 et seq.

      58.    Since October 20, 2015, Metalcraft was an employer within the

meaning of Wis. Stat. §§ 103.001 et seq.

      59.    Since October 20, 2015, Metalcraft was an employer within the

meaning of Wis. Stat. §§ 104.01 et seq.

      60.    Since October 20, 2015, Metalcraft was an employer within the

meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      61.    Since October 20, 2015, Metalcraft was an employer within the

meaning of Wis. Admin. Code §§ DWD 274.01 et seq.

      62.    Since October 20, 2015, Metalcraft has employed, and/or continues to

employ Plaintiff within the meaning of Wis. Stat. §§ 109.01 et seq.

      63.    Since October 20, 2015, Metalcraft has employed, and/or continues to

employ Plaintiff within the meaning of Wis. Stat. §§ 103.001 et seq.

      64.    Since October 20, 2015, Metalcraft employed, and/or continues to

employ Plaintiff within the meaning of Wis. Stat. §§ 104.01 et seq.

      65.    Since October 20, 2015, Metalcraft employed, and/or continues to

employ Plaintiff within the meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

      66.    Since October 20, 2015, Metalcraft employed, and/or continues to

employ Plaintiff within the meaning of Wis. Admin. Code §§ DWD 274.01 et seq.




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      67.    Since October 20, 2015, Plaintiff a regularly performed activities that

were an integral and indispensable part of Plaintiff’s principal activities without

receiving compensation for these activities.

      68.    Since October 20, 2015, Metalcraft had, and continues to have,

common policies, programs, practices, procedures, protocols, routines, and rules of

willfully failing to properly pay Plaintiff and Metalcraft’s other hourly employees

overtime wages for all hours worked in excess of forty hours in a given workweek.

      69.    Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      70.    The foregoing conduct, as alleged above, constitutes continuing, willful

violations of Wisconsin’s law requiring the payment of overtime, and agreed upon

wages.

      71.    As set forth above, Plaintiff has sustained losses in Plaintiff’s

compensation as a proximate result of Metalcraft’s violations. Accordingly, Plaintiff

seeks damages in the amount of Plaintiff’s respective unpaid compensation,

injunctive relief requiring Metalcraft to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and

equitable relief as the Court deems just and proper.

      72.    Under Wis. Stat. §109.11, Plaintiff may be entitled to liquidated

damages equal and up to fifty percent of Plaintiff’s unpaid wages.

      73.    Plaintiff seeks recovery of attorneys’ fees and the costs of this action to

be paid by Metalcraft, pursuant to the Wisconsin law.




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                             REQUEST FOR RELIEF

            WHEREFORE, Plaintiff hereby requests the following relief:

      a) Issuance of an Order, pursuant to the Declaratory Judgment Act, 28
         U.S.C. §§2201-2202, declaring Metalcraft’s actions as described in the
         Complaint as unlawful and in violation of Wisconsin Law and applicable
         regulations;

      b) An Order finding that Metalcraft violated the FLSA and Wisconsin wage
         and hour law;

      c) An Order finding that these violations are willful;

      d) Judgement against Metalcraft in the amount equal to the Plaintiff’s
         unpaid wages at the applicable agreed-upon wage and/or overtime
         premium rates;

      e) An award in the amount of all liquidated damages and civil penalties as
         provided under Wisconsin Law and the FLSA;

      f) An award in the amount of all costs and attorney’s fees incurred
         prosecuting these claims as well as pre-judgment and post-judgement
         interest; and

      g) Such further relief as the Court deems just and equitable.

                          DEMAND FOR JURY TRIAL

      Plaintiff hereby requests a trial by jury pursuant to Fed. R. Civ. P. 38(b).


Dated this 20th day of March, 2020.

                                             Respectfully submitted,

                                             s/ Larry A. Johnson
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                                             Bar Number 1056619
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